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 6 Attorney for Plaintiff
 7 SOPHIA GONZALES
 8
                             UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                   EASTERN DIVISION
11
12 SOPHIA GONZALES,                        Case No. EDCV 5:20-cv-02574-E
13
           Plaintiff,                      [PROPOSED] ORDER FOR THE
14                                         AWARD AND PAYMENT OF
15                v.                       ATTORNEY FEES AND EXPENSES
                                           PURSUANT TO THE EQUAL ACCESS
16 KILOLO KIJAKAZI, Acting                 TO JUSTICE ACT
17 Commissioner of Social Security,
18              Defendant.
19
20        Based upon the parties’ Stipulation for the Award and Payment of Equal Access

21 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
22 amount of $5,850.00 as authorized by 28 U.S.C. § 2412 be awarded subject to the terms
23 of the Stipulation.
24 DATE:________________
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25                                       HON. CHARLES F. EICK
                                         UNITED STATES MAGISTRATE JUDGE
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